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IN THE DIsTRicT COURT oF OKLAHOM/§IEMHSTRICT COURT
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VICKn-; DYER, ) NOV "7 2917
) RICK '
Plaimifr, ) 73 coURi‘U%§ERitEKN
) ' _-__.___m
vs. ) Case " .
) IEJ-ZOW-ézall
sTATE FARM MUTUAL INsURANCE )
COMPANY, )
)
Defendant. )
PETITloN

COMES NOW the Plaintiff, Vickie Dyer, by and through her attorneys of record,
Joe E. White, Jr. and Charles C. Weddle III of White & Weddle, P.C. and, for her causes
of action against the Defendant, alleges and states as follows:

l. Plaintific Vickie Dyer is a citizen of the State of Oklahoma.

2. Defendant State Farrn Mutual Automobile Insurance Company (“State
Farrn”) is a for-profit corporation authorized to do business in the State of Oklahoma,
with its principal headquarters in Bloomington, lllinois.

3. Defendant regularly conducts business throughout the State of Oklahoma,
including Canadian County. Defendant issues policies, processes claims, and conducts
all matters of business through an office(s) and agents located in Oklahoma County.

4. The matter sued on herein occurred in the State of Oklahoma.

5. The Defendant has sufficient contacts with the State of Oklahoma to
warrant the exercise of in personam jurisdiction by this Court. Pursuant to 12 O.S.
§2004(F), this Court has proper subject matter jurisdiction Pursuant to 12 O.S. §137,

venue is proper in Oklahoma County.

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6. The amount in controversy herein exceeds the sum ot` Seventy-Five

Thousand Dollars (S75,000.00), exclusive of interest and costs.
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7. Plaintiff adopts and incorporates herein paragraphs 1 through 6 above, as
if more fully stated out herein, and further alleges and states as follows:

8. That at all material times herein, Plaintiff was insured pursuant to a
contract(s) of insurance on a 2012 Toyota Avalon With Defendant that provided, among
other things, uninsured/underinsured (UM/UIM) motorist insurance coverage for Plaintiff
in the amount of $250,000.00 limits (per person), identified as insurance policy number
0001799361. This contract of insurance was in full force and effect at the time of
P]aintifi"s loss on September 6, 2014.

9. That on or about September 6, 2014, Plaintiff was involved in an
automobile collision in Canadian County, Oklahoma, in the vicinity of I-40 and Mustang
Road, resulting in damages in an amount in excess of Seventy-Five Thousand Dollars
($75,000.00). The Plaintift` was not at fault in the collision.

10. Within days ot` the September 6, 2014, automobile collision, Plaintiff
provided notice to State Fa.rm of said collision resulting in a UM/UIM claim (Claim #36-
574T-962). Thereafter, the Plaintiff timely notified the Defendant of, among other
things, her UM/UIM claim.

ll. As a result the September 6, 2014, collision, the Plaintiff sustained
personal injuries and necessary medical treatment, ineluding, but not limited to, a right

total hip arthroplasty and right wrist decompressive surgery.

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12. On or about May 17, 2016, at the request of the Defendant, it received a
medical opinion by Dr. Neal Small (based solely upon the Plaintiff’ s medical information
the Defendant had provided to him) wherein he stated, “In summary, the right total hip
arthroplasty and the right wrist decompressive surgery involving the first dorsal
compartment addressed conditions that were not caused or aggravated by the motor
vehicle accident.”

14. In response to Dr. Small’s opinion, on or about February 28, 2017, the law
firm of Lawter & Associates, PLLC (hereafter “Lawter”), counsel for Plaintiff, provided
the Defendant with the unbiased opinion of Plaintiff’s treating physicians, Dr. Kristopher
Avant and Dr. Brad Reddicl<.

15. That on or about March 13, 2017, and April 7, 2017, the Defendant
advised Lawter by letter that it had forwarded Dr. Avants’ and Dr. Reddick’s information
to Dr. Small for a “supplemental review” and, upon receipt of that review, the Defendant
“Will be in contact with you to discuss resolution of this claim."

16. Following Dr. Small’s supplemental report dated April 10, 2017, the
Defendant re-evaluated its insured’s (Plaintift) claim and stood by its decision that it
“determined the value remains within the available liability limits of the responsible
party. Therefore, based on available information, We do not believe our insured is
entitled to payment under the Uninsured/Underinsured Motorist Coverage.”

17. That as a result of this improper conduct on the part of the Defendant,
Plaintiff has sustained, among other things, monetary damages, inconvenience, physical
discomfort, loss of peace of mind and security, emotional distress, Worry, anguish, and

financial distress

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FIRST CAUSE OF ACTION
BREACH OF CONTRACT

18. Plaintiff` adopts and incorporates herein paragraphs 1 through 17 above, as
if more fully stated out herein, and further alleges and states as follows:

19. When Plairitiff purchased the subject insurance policy, she did not contract
to obtain a commercial advantage, but sought to protect herself against the risks of
accidental losses and the mental stress that could result from such losses. State Farm
knew one of the primary reasons a consumer, such as Plaintiff, purchases insurance is the
peace of mind and security that it provides in the event of loss. State Farm knew that the
very risk Plaintiff insured herself against presupposed that when a claim was made for
benefits under the underinsured/uninsured coverage, Plaintiff could possibly be in
financial straits or circumstances and, therefore, particularly vulnerable to oppressive
tactics on the part of an economically-powerful entity such as State Farm.

20. That State Farm’s relationship with its insured was a fiduciary relationship
and/or a special relationship making the laws governing fiduciary relationships
applicable Despite this fiduciary and/or special relationship, State Farm refused to honor
its prior commitment to pay for damages incurred by Plaintiff.

21. That State Farm breached the insurance contract with Plaintiff by failing
to pay her for the damages incurred as a result of the September 6, 2014, collision. As a
result of State Farm’s breach of contract, Plaintiff has been damaged by at least the
amount of the UM/UIM policy limit per person of 5250,000.00.

SECOND CAUSE OF ACTION

BAD FAITH

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22.

Plaintiff adopts and incorporates herein paragraphs 1 through 21 above, as

if more fully stated out herein, and further alleges and states as follows:

23.

State F arm is required to do at least the following as part of its duty of

good faith and fair dealing with first-party insured including the Plaintiff:

(a)

(b)
(C)
(d)
(€)

(f)

(s)
(h)

(i)

(i)

24.

Treat her interest with equal regard to its own interest (not adversarial
process);

Assist her with her UM claim;

Conduct a full, fair and prompt investigation of her UIVI claim;

Fairly, objectively, and even-handedly evaluate her UM claim;

Diligently search for and consider evidence that supports payment of her
UM claim;

Not deny or reduce her UM claim based upon insufficient information,
speculation or bias;

Promptly pay all UM policy benefits owed to her under the policy;

Not rely upon opinions of biased or predictable experts to deny or reduce
payment of her UM claim;

Not compel her to institute and pursue a lawsuit to recover benefits due
under the UM policy; and

Not delay payment to her of UM benefits owed under the policy.

State Farm has violated its duty of good faith and fair dealing by

unreasonably and in bad faith refusing to pay Plaintiff the proper amount for valid claims

under the insurance policies State Farm has further violated the duty of good faith and

fair dealing by unreasonably failing to perform a proper investigation and by failing to

evaluate the results of its investigation properly; that State Farm has no reasonable basis

to refuse to offer the uninsured/underinsured policy limits of $250,000.00 to satisfy the

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claim. State Farm has further violated its duty of good faith and fair dealing by
negligently supervising this loss.

25. That Plaintiff has made repeated demands that Defendant pay her
UM/UIM claim as a result of the September 6, 2014, automobile collision pursuant to the
policy of insurance previously issued by Defendant to Plaintiff, and the Defendant
refused to, among other things, timely and properly investigate, evaluate, and properly
pay Plaintiff’s claim(s). This includes unreasonably, recklessly, and/or intentionally
delaying payment of the applicable UM/UIM policy limits of $250,000.00. As a result,
State Farm has breached its duty of good faith and fair dealing owed to the Plaintiff.

26. The Defendant solicits opinions from venders (such as Medical
Consultants Network, LLC) and non-treating doctors (such as Dr. Neal Small) whose
opinions the Defendant knows Will unreasonably permit the denial and/or reduction of
first-party claims. The Defendant returns to these venders and no-treating doctors time
and time again on its first-party claims because it knows it can rely on these doctors as a
basis to stop paying or paying less than they owe on other first-party claims including
UM/UM claims. These third-parties, like Medical Consultants Network, LLC and Dr.
Neal Small, offer biased and predictable medical opinions Which the Defendant unfairly,
unreasonably, and illegitimater uses as part of an overall cost-containment program to
arbitrarily deny/reduce claim payments to the detriment of their insureds.

27. Consistent with State Farrn’s corporate policy and/or practice, it used
Medical Consultants Network, LLC and Dr. Neal Small in this case as a basis to

disregard or ignore the UM policy provision of the subject insurance policy to

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' unreasonably, reckless, and/or intentionally deny payment of the Plaintiff’s first-party
UM claim.

28. That State Farm has breached the duty of utmost good faith and fair
dealing owed by an insurer to its insured. State Farm has recklessly disregarded its duty
to deal fairly and iri good faith with its insured. That as a result of State Farm’s breach of
its duty of good faith and fair dealing, Plaintiff has suffered actual monetary damages and
has also suffered inconvenience, physical discomfort, loss of peace of mind and security,
emotional distress, worry, anguish, and financial distress in an amount in excess of
Seventy-Five Thousand Dollars (S?S,OO0.00).

29. Finally, based upon State Farrn’s wanton, willful, and malicious actions,
as Well as its reckless disregard of its duty to deal fairly and in good faith towards its
insured, Plaintiff seeks punitive damages in an amount in excess of Seventy-Five
Thousand Dollars ($75,000.00).

CONCLUSION

WHEREFORE, premises considered, Plaintiff Vickie Dyer prays for judgment in
her favor against the Defendant, State Farm Mutual Automobile Insurance Company, for
(a) breach of contract damages in the amount of $250,000.00; (b) actual damages in an
amount in excess of $75,000.00; (c) punitive damages in an amount in excess of
375,000.00; (d) Plaintiff"s prejudgment interest, costs, and a reasonable attorney fee; and
(e) such other relief to which Plaintiff may be entitled

Respectfully submitted,

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OBA

    

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